Case 22-12916-MBK          Doc 31 Filed 05/05/22 Entered 05/06/22 00:11:50                 Desc Imaged
                                Certificate of Notice Page 1 of 4


      UNITED STATES BANKRUPTCY COURT
      DISTRICT OF NEW JERSEY
      Timothy P. Neumann, Esq. [TN6429]
      Geoffrey P. Neumann, Esq. [59702019]                            Order Filed on May 3, 2022
                                                                      by Clerk
      BROEGE, NEUMANN, FISCHER & SHAVER, LLC                          U.S. Bankruptcy Court
      25 Abe Voorhees Drive                                           District of New Jersey
      Manasquan, New Jersey 08736
      Tel: (732) 223-8484
      Email: timothy.neumann25gmail.com
              geoff.neumann@gmail.com
      Attorneys for Debtors-in-Possession,
      George Sariotis and Cindy Sariotis

      In Re:                                                   Case No.: 22-12916

      GEORGE SARIOTIS and                                      Chapter 11
      CINDY SARIOTIS,
                                                               Judge: Michael B. Kaplan
                Debtors.
                                                               Hearing Date: 5/5/2022




               Recommended Local Form:             X     Followed           ______ Modified


                 ORDER AUTHORIZING RETENTION OF REAL ESTATE BROKER

               The relief set forth on the following page numbered two (2) is hereby ORDERED.




DATED: May 3, 2022
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    Page 2
    Debtors:         George Sariotis and Cindy Sariotis
    Case No: 22-12916 (MBK)
    Adv. Pro. No.:
    Caption of Order: Order Authorizing Retention of Real Estate Broker

    Applicant:       George Sariotis
    Professional:    Burke & Manna Real Estate



             8SRQWKHDSSOLFDQW¶VUequest for authorization to retain the professional named above, it

    is hereby ORDERED as follows:

             1.      The applicants, George Sariotis and Cindy Sariotis, are authorized to retain the

    professional, Burke & Manna Real Estate to act as real estate broker for the Debtors.

             2.      Compensation shall be paid in such amounts as may be allowed by the Court upon

    proper application(s) therefore.

             3.      The effective date of the retention is the date the application was filed with the

    Court.
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                                                              United States Bankruptcy Court
                                                                  District of New Jersey
In re:                                                                                                               Case No. 22-12916-MBK
George Sariotis                                                                                                      Chapter 11
Cindy Sariotis
       Debtors
                                                    CERTIFICATE OF NOTICE
District/off: 0312-3                                                 User: admin                                                          Page 1 of 2
Date Rcvd: May 03, 2022                                              Form ID: pdf903                                                     Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on May 05, 2022:
Recip ID                  Recipient Name and Address
db/jdb                    George Sariotis, Cindy Sariotis, 1801 Pitney St, Oakhurst, NJ 07755-2840

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                      BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                     NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: May 05, 2022                                           Signature:           /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on May 3, 2022 at the address(es) listed below:
Name                              Email Address
David B. Grantz
                                  on behalf of Creditor OceanFirst Bank N.A., successor by merger to TwoRiver Community Bank dgrantz@meyner.com,
                                  ckelly@meyner.com

Geoffrey P. Neumann
                                  on behalf of Plaintiff George Sariotis geoff.neumann@gmail.com

Geoffrey P. Neumann
                                  on behalf of Joint Debtor Cindy Sariotis geoff.neumann@gmail.com

Geoffrey P. Neumann
                                  on behalf of Plaintiff Cindy Sariotis geoff.neumann@gmail.com

Geoffrey P. Neumann
                                  on behalf of Debtor George Sariotis geoff.neumann@gmail.com

Kyle Francis Eingorn
                                  on behalf of Creditor McCormick 110 LLC keingorn@dbblegal.com

Margaret Mcgee
                                  on behalf of U.S. Trustee U.S. Trustee maggie.mcgee@usdoj.gov
      Case 22-12916-MBK            Doc 31 Filed 05/05/22 Entered 05/06/22 00:11:50                                   Desc Imaged
                                        Certificate of Notice Page 4 of 4
District/off: 0312-3                                     User: admin                                                         Page 2 of 2
Date Rcvd: May 03, 2022                                  Form ID: pdf903                                                    Total Noticed: 1
Matthew Patrick Dolan
                          on behalf of Creditor OceanFirst Bank N.A., successor by merger to TwoRiver Community Bank mdolan@meyner.com

U.S. Trustee
                          USTPRegion03.NE.ECF@usdoj.gov


TOTAL: 9
